Case 0:20-cv-61767-RAR Document 21 Entered on FLSD Docket 10/11/2020 Page 1 of 1


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CV-61767-RAR

  RAYMOND T. MAHLBERG,

         Plaintiff,

  v.

  TARGET CORPORATION,

        Defendant.
  ___________________________/

                        ORDER ADMINISTRATIVELY CLOSING CASE

         THIS CAUSE is before the Court upon Defendant’s Notice of Settlement [ECF No. 20],

  filed on October 9, 2020, indicating that the parties have reached an agreement to resolve this

  matter and are finalizing settlement documents. The Court having carefully reviewed the file, the

  Notice, and being otherwise fully advised, it is hereby

         ORDERED AND ADJUDGED as follows:

         1. The above-styled action is administratively CLOSED without prejudice to the parties

  to file a stipulation for dismissal within thirty (30) days from the date of this Order.

         2. If the parties fail to complete the expected settlement, either party may request the Court

  to reopen the case.

         3. The Clerk shall CLOSE this case for administrative purposes only. Any pending

  motions are DENIED AS MOOT.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 11th day of October, 2020.



                                                        _________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
